                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

BUSINESS SYSTEMS ENGINEERING,          )
INC.,                                  )
          Plaintiff,                   )
                                       )
     v.                                )
                                       )      No. 04 C 8254
INTERNATIONAL BUSINESS MACHINES        )
CORPORATION (“IBM”),                   )
                                       )
          Defendant.                   )

                     MEMORANDUM OPINION AND ORDER

     Plaintiff    Business   Systems       Engineering,   Inc.   (“Business

Systems”) and defendant International Business Machines Corporation

(“IBM”) have a business dispute about a project with the Chicago

Transit Authority (“CTA”) to perform work on the CTA’s computer

system.   Business Systems believes that IBM shorted it money due

under a contract and otherwise interfered with its contractual and

business relations, and has brought breach of contract and other

tort claims against IBM.     IBM has moved for summary judgment on all

of Business Systems’s claims against it.1             For the following

reasons, I grant IBM’s motion.




     1
      IBM has also brought a counterclaim against Business Systems
and its CEO Nathan Paige (“Paige”), so IBM is technically also a
counter-plaintiff and Business Systems a counter-defendant. IBM’s
motion for summary judgment does not concern the counterclaim,
though, so for ease of discussion this opinion refers to IBM only
as “defendant” and Business Systems only as “plaintiff.”
                                    I.

     Summary   judgment     is   appropriate     where   the      record     and

affidavits, if any, show that there is no genuine issue of material

fact and that the moving party is entitled to judgment as a matter

of law.   Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986); see

also Steen v. Myers, 486 F.3d 1017, 1021 (7th Cir. 2007) (citing

FED. R. CIV . P. 56(c)).    If the moving party meets this burden, the

non-moving   party   must   go   beyond   the   pleadings   and    set     forth

specific facts showing that there is a genuine issue for trial.

Ptasznik v. St. Joseph Hosp., 464 F.3d 691, 694 (7th Cir. 2006)

(citing FED . R. CIV . P. 56(e); Becker v. Tenenbaum-Hill Assocs.,

Inc., 914 F.2d 107, 110 (7th Cir. 1990)).         The existence of merely

a scintilla of evidence in support of the non-moving party's

position is insufficient; there must be evidence on which the jury

could reasonably find for the non-moving party.                Id. (citing

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 252 (1986)).              I must

construe all facts in the light most favorable to Business Systems

and draw all reasonable and justifiable inferences in its favor.

Anderson, 477 U.S. at 255.

     Taking the facts in the light most favorable to Business

Systems, the following are the undisputed facts:2 Business Systems

     2
      IBM filed a statement of material facts pursuant to Local
Rule 56.1. Business Systems filed a response to those facts that
agrees with some facts but disagrees with others. However, many of
Business Systems’s disagreements with IBM’s statement of facts
merely deny the proposed fact and state in response only to “See

                                     2
is a Delaware corporation with its principal place of business in

Chicago, Illinois.      It formerly provided application consulting,

systems integration, and other computer consulting to various

entities.    Nathan Paige is a resident of Illinois and was at all

relevant times Business Systems’s Chief Executive Officer and/or

Chief Financial Officer.        IBM is a New York corporation with its

principal place of business in New York.                It provides computer

hardware and systems consulting.

      On   December   28,    2001,   IBM    and   the   CTA   entered   into   an

“Information Technology Services Agreement” (“ITSA”). Section 3 of

the ITSA provides that IBM agrees to perform certain services for

the CTA in exchange for compensation.             These services pertain to

the   “installation,        modification,     implementation,      conversion,

integration, and configuration of the ERP System,” defined in the

ITSA as

            the   Enterprise  Resource  Planning  System
            Described in Exhibit A, Exhibit D, and the
            Documentation.   The ERP System includes the


Pl. Resp. to Def. Motion for S.J.” or otherwise do not comply with
the local rules. This is an insufficient denial. Under Local Rule
56.1, disagreements must include “specific references to the
affidavits, parts of the record, and other supporting materials
relied upon.” Many of IBM’s statements of material fact contain
legal conclusions or purport to state Business Systems’s position
on certain issues, and are therefore inappropriate or irrelevant
themselves. I will consider admitted any appropriate statements of
material fact to which Business Systems has not appropriately
replied.   I also agree with IBM that Business Systems may not
incorporate its memorandum in opposition to summary judgment into
its own additional statement of facts under Local Rule
56.1(b)(3)(C).

                                       3
          ERP Software, Third-Party Software specified
          in Exhibit E, modifications, configurations,
          and any customer programming specified in
          Exhibit A, as well as all revisions and
          customizations to any or all of the above
          software which may be required and is provided
          for in Exhibit A hereto.

(Ex. 6 to IBM’s Mot., ITSA §§ 2.14, 3.1.)    Section 5.3 of the ITSA

also provides that IBM agrees to “abide by all CTA policies that

reasonably pertain” to it.      One of those policies, originally

attached as an exhibit to the ITSA, is a policy entitled “Special

Conditions:     Disadvantaged Business Enterprise Commitment” (“DBE

Commitment”).3    Under the terms of the DEB Commitment, bidders for

contract work with the CTA agree to “expend not less than” 30

percent “of the total contract price (inclusive of any and all

modifications     and   amendments),   if   awarded,   for   contract

participation” by Disadvantaged Business Enterprises (“DBEs”).

Business Systems was certified by the CTA as a DBE.

     The ITSA provides that the parties agree that the “formation,

interpretation, and performance” of the ITSA “shall be governed by

the laws of the State of Illinois.”     (Ex. 6, ITSA § 19.10.)    The

ITSA also contains a provision stating that IBM’s obligations to

the CTA under the ITSA “shall be, in the aggregate, as set forth”

in the ITSA and that the ITSA “is an agreement between the parties,


     3
      The copy of the ITSA attached as Exhibit 6 to IBM’s motion
for summary judgment does not include the exhibits originally
attached to the ITSA, but the list of ITSA’s exhibits indicates
that Exhibit L was the DBE Commitment. Further, the parties agree
that the DBE Commitment formed part of ITSA.

                                  4
and, except for the provisions of the preceding sentence, confers

no   rights   upon   any   of   the   parties’   employees,   agent,    or

contractor’s or upon any other Person.” (Id. at ¶ 19.11.)

     According to Business System’s CEO Paige, Business Systems

worked on various projects for the CTA starting in at least 1996.

Its last project as “prime contractor” with the CTA ended in 2002.

Paige testified that Business Systems became interested in the

CTA’s ERP implementation project, to take the CTA’s ERP system and

move it to a server-based system like SAP or Oracle (the “ERP

project”).    Paige also testified that Business Systems did not bid

for the ERP project because it was not large enough to handle a

project of that size and had certain other constraints; Business

Systems knew that it “would need to have a very large partner to

pursue this deal.”    Business Systems spoke with potential larger

partners including IBM.

     Business Systems and IBM eventually entered into a “Customer

Solutions Agreement” (“CSA”).         That agreement is dated July 20,

2000, before the date the CTA and IBM entered into the ITSA.           The

opening paragraph of the CSA provides:

          This   Agreement  dated   as of  07/20/2000
          (“Effective Date”), between International
          Business Machines Corporation (“Buyer”)and
          Business Systems Engineering (“Supplier”),
          establishes the basis for a multinational
          procurement relationship under which [BSE]
          will provide [IBM] the Deliverables and
          Services described in [Statements of Work]
          issued under this Agreement.


                                      5
(Ex. 10, CSA at 1.)          The terms of the CSA do not specify what

deliverables and work BSE will provide IBM, only that BSE “will

provide Deliverables and Services as specified in the relevant

[Statement of Work] only when specified in a [Work Authorization].”

(Ex. 10, CSA at § 2.0.)        The CSA defines “Work Authorization” as

IBM’s “authorization in either electronic or tangible form for

[Business Systems] to conduct transactions under this Agreement

(i.e., a purchase order, bill of lading, or other [IBM] designated

document). A [Statement of Work] is a [Work Authorization] only if

designated as such in writing” by IBM.            (Id. at § 1.0.)       The CSA

defines    “Statement   of    Work”   as   “any   document   attached    to   or

including in this Agreement which describes the Deliverables and

Services, including any requirements, specifications or schedules.”

(Id.)      The CSA also contains a choice of law provision that

specifies that “the laws of the State of New York applicable to

contracts executed in and performed entirely within that State will

apply if any part of the transaction is performed within the United

States.”    (Id. at § 14.3.)

     The parties agree that BSE’s work on the ERP project was

governed in part by Statements of Work.           They also agree that IBM

timely paid Business Systems for all work on the ERP project

pursuant to the Statements of Work and Purchase Orders.                   These

Statements of Work and Purchase Orders expressly reference the CSA.

The explicit terms of the CSA and the Statements of Work do not


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reference IBM providing Business Systems with $3.6 million worth of

work on the ERP project.       The Statements of Work define resources,

tasks and deliverables that BSE was to provide to IBM, set forth

hourly rates and estimated hours of work, and authorize work in an

amount of roughly $2.2 million.

     According to the affidavit of James Lautenbach, who during the

relevant time period was a client executive at IBM responsible for

the relationship with the CTA, as part of IBM’s response to the

CTA’s request for a proposal for the ERP project IBM had to submit

two completed CTA forms to the CTA: a “Schedule C, Letter of Intent

From DBE to Perform as Subcontractor, Supplier and/or Consultant”

(“Schedule   C”)    signed    by    each       DBE   that   would   work     as    IBM’s

subcontractor      on   the   ERP    project,        and     a   “Schedule    D,    DBE

Utilization Plan” (“Schedule D”) signed only by IBM.                       As part of

its response to CTA’s request for a proposal, IBM submitted a

Schedule C from BSE, attached as Exhibit 28 to its motion for

summary judgment (“Original Schedule C”).                   The Schedule C states:

          [BSE] is prepared to provide the following
          described services or supply the following
          described goods in connection with the above
          named project/contract:

             Pay Item No.      Quantity                Total
             Description       Unit Price

             Services          $2,124,550.00           $2,124,550.00
             Software          $1,500,000.00           $1,500,000.00
             . . . .           Grand Total:            $3,624,550.00


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                                   . . .

              [BSE] will enter into a formal written
              agreement for the above work with [IBM],
              conditioned upon your execution of a contract
              with the [CTA], and will do so within (5) five
              working days of [IBM’s] receipt of a signed
              contract from the [CTA].

(Ex. 28, Original Schedule C.)             Noland Joiner signed Original

Schedule C on or about August 23, 2000, on BSE’s behalf as BSE’s

Vice President of Business Development.         (Id.)    On August 8, 2003,

BSE signed a new Schedule C, attached as Exhibit 29 to IBM’s motion

for summary judgment (“Revised Schedule C.”) The Revised Schedule

C was substantially similar to the Original Schedule C except the

services or goods that BSE was “prepared to provide” was changed to

read:

Pay Item                   Quantity/Unit Price      Year
No./Description
Provide development        $3.6 Million             2002-2003
resources for Oracle
Implementation
                                   . . .

Grand Total:               $3.6 Million

(Ex.    29,   Revised   Schedule   C.)      Lautenbach   testified   in   his

deposition that the $3.6 million participation arose because of

telephone and in-person discussions between IBM and BSE.              Paige

testified in his deposition that IBM and BSE had an original

“handshake agreement” for $3.6 million in services.             Later there

was another handshake agreement to increase this amount to $8.6

                                     8
million because “it was unclear what . . . services would be needed

for the increase in contract value from 20 million to 42 million.”

Later, that was reduced by agreement to $3.6 million.

      On or about August 12, 2003, IBM signed a Schedule D, attached

to   IBM’s    motion   for    summary     judgment       as    Exhibit   31.   John

Ciaramella signed Schedule D as the “Project Partner” on IBM’s

behalf.      (Ex. 31, Schedule D.)        Schedule D included the following

chart:

               Name of       Type of Work to be               Contract
                 DBE            Performed (in                  Amount
               Firm(s)         accordance with
                                 Schedule Cs)
              [BSE]          Provide development                $3.6
                                 resources for                Million
                                  conversions,
                               interfaces, and
                                customizations
                             Total DBE Credit:       $3.6 Million

(Exhibit 31, Schedule D.)           Schedule D also included a section

entitled “Affidavit of Prime Contractor” that stated, in part:

              The undersigned [IBM] will enter into formal
              agreements with all listed DBE firms for work
              as   indicated  by   this   Schedule  D   and
              accompanying Schedules, and will enter into
              such agreements within five (5) business days
              after receipt of the contract executed by the
              [CTA].

(Id.) Certain BSE officers, including Joiner, BSE co-owner and

former vice president Michael Ford (“Ford”) and Cecelia Bolden,

BSE’s    former   project      manager,       admitted    that    they   understood

Schedules C and D as non-contracts.

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     BSE and IBM agree that at certain times throughout the CTA

project BSE did not submit candidates to fill a position on the CTA

project.      BSE and IBM also agree that beginning in 2003, BSE fell

behind   in    paying   certain   subcontractors,      and   had   outstanding

balances with some of them, causing them to threaten to leave the

CTA project.

     BSE submitted Maureen Jones (“Jones”) to IBM for consideration

for a position on the CTA project. Terrence Roberts testified that

BSE spoke with Jones and that Jones filled out an “Application for

Employment.”      He further testified that BSE’s arrangement with

Jones was that it would offer her employment if she was accepted

for the CTA project by the CTA and IBM.         Later, CTA accepted Jones

in a different position through a different DBE.                    BSE never

provided Jones with any documents, and Jones never signed any

documents asking to be submitted to IBM for any position.

     The parties agree that BSE did not receive $3.6 million worth

of work on the CTA project, and instead that IBM only provided BSE

with $2.2 million in work.         Terrence Roberts (“Roberts”), a BSE

officer, testified in his deposition that this was because BSE “did

not have the opportunity to get the billable hours required to meet

that 3.6 million.” Roberts further testified that had BSE received

the additional work, it would still be in business.

     BSE   subsequently     brought   a    complaint    against    IBM.   The

complaint alleges that BSE originally approached IBM to “partner”


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on the CTA’s request for a proposal on its ERP system.         (Amended

Complaint, (“Compl.”) ¶¶ 4-5.)   The complaint further alleges that

“[a]s a result of BSE’s efforts, in December of 2001” IBM and CTA

entered into an agreement.   (Id. at ¶ 6.)   BSE alleges that as part

of IBM’s agreement with the CTA, IBM guaranteed BSE work totaling

$8,560,000, but breached that agreement (Id. at ¶¶ 9, 12.)         BSE

brings claims for (1) breach of the contract between IBM and BSE;

(Count I); (2) breach of the contract between IBM and the CTA,

brought as a third-party beneficiary (Count II); (3) tortious

interference with contractual relations for interfering with BSE’s

relationship   with   Maureen   Jones   (Count   III);   (4)   tortious

interference for business relations for interfering with “the

business relations BSE had with BSE’s resources” (Count IV); and

(5) tortious interference with a prospective economic advantage or

business opportunity by intentionally refusing to utilize certain

BSE resources as part of the CTA project in order to drive BSE out

of business (Count V).   This motion for summary judgment on all of

these counts followed.

                                 II.

     IBM has moved for summary judgment on Count I of BSE’s

complaint, BSE’s breach of contract claim, arguing that the only

agreement between BSE and IBM did not obligate IBM to provide BSE

with any certain amount of work. BSE contends that there is at

least a partial dispute of fact whether IBM had an oral contract


                                  11
with BSE to provide BSE with $3.6 million worth of work on the CTA

project.   I disagree and grant summary judgment for IBM on this

claim.

      There is no dispute that under IBM’s agreement with the CTA

IBM needed the participation of DBEs in order to work on the ERP

project.   The parties also agree that IBM spoke with BSE about

working as a DBE on the ERP project, and that BSE signed a letter

of intent to work as a DBE.         Taking the facts in the light most

favorable to BSE, IBM and BSE had additional discussions about the

amount of BSE’s participation on the ERP project.             According to

BSE, after discussions and preliminary agreements IBM and BSE

reached a final “handshake agreement” that BSE would provide $3.6

million in services on the ERP project.

      The fact that certain BSE witnesses testified that there was

an “agreement” between BSE and IBM does not establish the existence

of a contract.4    Under Illinois law, the existence of a contract is

a question of law.         Ass’n Benefit Servs., Inc. v. Caremark RX,

Inc., 493 F.3d 841, 849-50 (7th Cir. 2007) (citations omitted).

“No   contract    exists    under   Illinois   law,   and,   indeed,   under

principles of general law, if the agreement lacks definite and

certain terms; nor is a contract formed by an offer that itself

lacks definite and certain material terms and does not require such


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      Similarly, the fact that certain IBM witnesses may have
testified that there was a “commitment” and an “agreement” with BSE
does not establish the existence of a contract.

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terms to be supplied by an acceptance.”                   Id. at 850 (citations

omitted); see also Midland Hotel Corp. v. Reuben H. Donnelley

Corp., 118 Ill. 2d 306, 314, 113 Ill. Dec. 252, 256, 515 N.E.2d 61,

65 (1987) (citation omitted) (“For a contract to be enforceable,

the    essential      terms   of    the    contract      must   be    definite      and

certain.”). A contract “is sufficiently definite and certain to be

enforceable if the court is enabled from the terms and provisions

thereof,      under    proper      rules   of    construction        and   applicable

principles of equity, to ascertain what the parties have agreed to

do.”    Midland Hotel Corp., 118 Ill. 2d at 314, 113 Ill. Dec. at

256, 515 N.E.2d at 65 (quoting Morey v. Hoffman, 12 Ill. 2d 125,

131, 145 N.E.2d 644, 647-48 (1957)).

       Here, even taking the facts in the light most favorable to

BSE, there is no evidence of a written contract between IBM and BSE

obligating IBM to provide $3.6 million in work to BSE.                     The Revised

Schedule C does indicate that BSE was “prepared to provide” $3.6

million in services, but it does not indicate that IBM agreed to

provide BSE with that amount of work.                Further, as I held in ruling

on IBM’s motion to dismiss an earlier version of BSE’s complaint,

neither the Original Schedule C nor the Revised Schedule C are

contracts because they are “too vague and incomplete to establish

a   legally    enforceable      agreement       by   which   BSE   could     hold   IBM

accountable for the alleged breach.”                   Bus. Sys. Eng’g, Inc. v.

Int’l Bus. Machs. Corp., No. 04 C 8254, 2005 WL 1766374, at *2


                                           13
(N.D. Ill. July 20, 2005).         The letters do not describe what work

BSE is to perform, the timing of the services, the timing of IBM’s

payments,   or    other    terms   and   conditions.     Id.     They       merely

reference the parties’ intent to enter into a future written

contract, which the parties agree they never did.              The CSA, while

perhaps a contract, does not establish any specific amount of work

IBM agrees to provide to BSE or vice versa, and only references

that work will be provided as specified in Statements of Work and

Work   Authorizations.        The    parties   likewise     agree    that     the

Statements of Work and Work Authorizations, on their own terms,

only obligate IBM to provide BSE with $2.2 million in work, which

IBM did.

       BSE contends that the contractual obligation for IBM to

provide BSE with $3.6 million in work came from in-person and oral

conversations and a “handshake agreement.”             However, I agree with

IBM that BSE has not met its burden to survive summary judgment on

this issue. To survive summary judgment, BSE must provide specific

facts that, if true, establish the existence of an enforceable

contract.        Here,    BSE’s    statement   of   additional      facts    only

conclusorily establishes that BSE may have believed that it had an

agreement for IBM to provide BSE with $3.6 million in work for the

CTA project.     There is no evidence about what promises BSE made in

exchange and when the parties entered into this oral contract.

This is true even if I consider this oral contract as some


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extension or modification of the Revised Schedule C or the Original

Schedule C.      In short, BSE has not presented enough facts from

which a finder of fact could conclude that BSE and IBM had an

enforceable oral contract.              Therefore, I grant IBM’s motion for

summary judgment on Count I of BSE’s complaint.

                                         III.

      BSE’s amended complaint also alleges that BSE has the right to

sue for breach of the ITSA since BSE contends that it is a third-

party beneficiary of that contract.                 I disagree.

      Under Illinois law, there is a strong presumption that the

parties to a contract only intend the terms of the contract to

apply to them, and not to third parties.                     Ball Corp. v. Bohlin

Bldg. Corp., 187 Ill. App. 3d 175, 177, 134 Ill. Dec. 823, 824, 543

N.E.2d 106, 107 (Ill. App. Ct. 1989).                 “In order to overcome that

presumption, the implication that the contract applies to third

parties   must      be    so   strong    as    to   be    practically     an   express

declaration.”       Id. (citing Alaniz v. Schal Assocs., 175 Ill. App.

3d 310, 313, 124 Ill. Dec. 851, 853, 529 N.E.2d 832, 834 (Ill. App.

Ct.   1988)).       A    direct   third-party        beneficiary    may    enforce   a

contract where, although the beneficiary is not a party to a

contract,     the        contracting     parties         intend   the     third-party

beneficiary to benefit from the contract.                   Am. United Logistics,

Inc. v. Catellus Dev. Corp., 319 F.3d 921, 930 (7th Cir. 2003)

(citing A.E.I. Music Network, Inc. v. Bus. Computers, Inc., 290


                                          15
F.3d 952, 955 (7th Cir. 2002); XL Disposal Corp. v. John Sexton

Contractors Co., 168 Ill. 2d 355, 361, 213 Ill. Dec. 665, 669, 659

N.E.2d 1312, 1316 (1995)). Whether a party is a direct third-party

beneficiary is determined by assessing “the intent of the parties

based on the contract as a whole as well as the understandings

between the parties at the time of the contract’s execution.”                  Id.

(quoting A.J. Maggio Co. v. Willis, 316 Ill. App. 3d 1043, 1051,

250 Ill. Dec. 376, 383, 738 N.E.2d 592, 599 (Ill. App. Ct. 2000);

Ball Corp., 187 Ill. App. 3d at 177, 134 Ill. Dec. at 824, 543

N.E.2d at 107).         These cases affirm the general analysis used to

determine a parties’ intent under a contract - by looking solely to

the    language    of   the    contract   where   the   contract’s   terms     are

unambiguous, and by considering other evidence of the parties’

intent only where the language of the contract is ambiguous.                   See,

e.g., Much v. Pac. Mut. Life Ins. Co., 266 F.3d 637, 643 (7th Cir.

2001) (citations omitted); Taracorp Inc. v. NL Indus., Inc., 73

F.3d    738,     743    (7th   Cir.    1996)   (citations     omitted).        The

interpretation of an unambiguous contract is a question of law; the

consideration of extrinsic evidence to interpret an ambiguous

contract    is    a    question   of   fact.      Taracorp,   73   F.3d   at   743

(citations omitted).

       Here, BSE contends that “clearly” it was to benefit from the

ITSA.    I disagree.       The ITSA contained a provision that plainly

states that except for IBM’s obligations to the CTA and the CTA’s


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obligations to IBM, the ITSA “confers no rights upon any of the

parties’ employees, agent, or contractor’s or upon any other

Person.”    (Ex. 6, ITSA § 19.11.)    The language of the ITSA is

unambiguous, unlike the contract in American United Logistics, a

case BSE cites for its contention that a party may be a third-party

beneficiary even where the contract contains express contractual

terms precluding third-party beneficiaries.    319 F.3d at 930-31.

In American United Logistics, two provisions of the contract

contradicted one another; one provision stated that the contract

was not intended to confer a benefit on any third party, but

another provision specifically provided that a third party would

have the authority to run a warehouse as specified in the contract.

Id. at 931.     Given the ambiguity in the language, the Seventh

Circuit concluded that the third party had stated a valid third-

party beneficiary claim.   Id.

     In this case, there is no similar ambiguity, only the section

of the ITSA stating that the ITSA confers no rights upon any third

party.     BSE has pointed to no specific provision of the ITSA

conferring it a benefit, only arguing that “clearly it was to

benefit.”     It also points out that the CTA sent IBM a letter

indicating that IBM was in breach of its contract with the CTA by

not complying with the DBE program requirements.    While the ITSA

acknowledges and accounts for the fact that IBM, as a contractor,

must comply with the requirements of the DBE program, its use of


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the   Schedule   C   letters   of   intent   demonstrates   the   parties

understood that IBM, although required to have a certain percentage

of DBE participation under the contract, would enter into separate

contractual agreements with the DBEs involved in the contract. The

unambiguous language of the ITSA does not support the conclusion

that BSE was a direct third-party beneficiary, so I grant summary

judgment to IBM on this claim.

                                    IV.

      BSE has also brought a claim for tortious interference with

contractual relations, contending that IBM tortiously interfered

with its contractual relationship with Maureen Jones. IBM contends

there is no evidence that BSE had a contract with Jones.          I agree.

      Under Illinois law, establishing a tortious interference with

contractual relations claim requires a plaintiff to show that (1)

a valid contract existed; (2) defendant knew the contract existed;

(3) defendant intentionally and maliciously induced the breach of

contract; (4) the breach of contract was caused by defendant's

wrongful conduct; and (5) plaintiff suffered damage as a result.

Fitzpatrick v. Catholic Bishop of Chicago, 916 F.2d 1254, 1256 (7th

Cir. 1990) (citations omitted); HPI Health Care Servs., Inc. v. Mt.

Vernon Hosp., Inc., 131 Ill. 2d 145, 154-55, 137 Ill. Dec. 19, 23,

545 N.E.2d 672, 676 (1989) (citations omitted).       BSE contends that

IBM tortiously interfered with BSE’s contractual agreement with




                                    18
Jones by refusing to hire Jones for the CTA project but then later

hiring Jones themselves for the same project.

     BSE’s tortious interference with contractual relations claim

fails because BSE has not shown, taking the facts in the light most

favorable to it, that it had a contract with Jones.      BSE argues

that its agreement with Jones was an oral agreement, even though

Terrence Roberts of BSE testified that its only agreement with

Jones was the “Application for Employment” that Jones filled out to

work for BSE.   In its response to IBM’s motion, BSE contends that

its contract with Jones was that it would screen Jones, “approve

her, send her name to IBM and CTA, and if approved, employ her.”

This plainly does not establish the existence of a contract because

BSE has not presented any facts showing that Jones accepted this

offer.   Acceptance is, of course, a basic requirement for a

contract under Illinois law.   Volker v. Porsche Cars N. Am., Inc.,

353 F.3d 516, 528 (7th Cir. 2003) (citations omitted).    Since IBM

has met its burden on summary judgment to show there is no genuine

issue of material fact, BSE needed to come forward with specific

facts showing there is a genuine issue for trial.   It has not done

so, so I grant summary judgment to IBM on this claim.5


     5
      IBM also contends that BSE has no evidence that IBM
interfered by failing to hire Jones, because the evidence is that
the CTA, not IBM, rejected Jones.      BSE admitted that the CTA
ultimately rejected Jones. It has presented no evidence that IBM
had any involvement in this rejection, which is a necessary element
to establish its claim. This is an alternate ground for granting
summary judgment for IBM on this claim.

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                                          V.

       Finally, BSE has brought two claims (Count IV and V) for

tortious        interference     with   prospective     economic     advantage       for

interfering        with   “the   business       relations    BSE    had    with    BSE’s

resources.”6        Both of these claims stem from the allegation that

BSE had a long-term relationship with the CTA and that IBM’s

interference with BSE on the ERP project caused BSE to lose any

future business opportunities it would have otherwise had with the

CTA.        IBM contends that BSE did not have any “near certainty” about

future work with the CTA, and that IBM did not direct any of its

actions at the CTA as required to establish this tort.                           I agree

that BSE has not shown that IBM directed its actions at the CTA.

       Tortious interference with prospective economic advantage

under        Illinois   law   requires    BSE    to   show   that    (1)    it    had   a

reasonable        expectation      of    entering     into    a     valid    business

relationship with the CTA; (2) IBM knew of this expectancy; (3) IBM


        6
      BSE’s complaint refers to these two claims as claims for
tortious interference with business relations and tortious
interference with prospective economic advantage. Illinois courts
use these and other terms to describe the same tort. See, e.g.,
Fellhauer v. City of Geneva, 142 Ill. 2d 495, 511, 154 Ill. Dec.
649, 656-57, 568 N.E.2d 870, 877-78 (1991); Kruger v. Menard Elec.
Coop., 169 Ill. App. 3d 861, 864-65, 119 Ill. Dec. 952, 954, 523
N.E.2d 708, 710 (Ill. App. Ct. 1988); Downers Grove Volkswagen,
Inc. v. Wigglesworth Imports, Inc., 190 Ill. App. 3d 524, 527, 137
Ill. Dec. 409, 412, 546 N.E.2d 33, 36 (Ill. App. Ct. 1989). The
Restatement   uses  the   term   “interference  with   prospective
contractual relation” to describe this tort.        4 Restatement
(Second) of Torts § 766 B (1979). For ease of discussion, this
opinion refers to this tort as tortious interference with
prospective economic advantage.

                                          20
purposefully interfered by preventing BSE’s expectancy from being

fulfilled; and (4) damages resulted from IBM’s interference.                         See

Burrell v. City of Mattoon, 378 F.3d 642, 652 (7th Cir. 2004)

(citations omitted). A “reasonable expectation” requires more than

the    hope    or    opportunity      of    a    future     business   relationship.

Anderson v. Vanden Dorpel, 172 Ill. 2d 399, 408, 217 Ill. Dec. 720,

724, 667 N.E.2d 1296, 1300 (1996). Further, to establish this tort

BSE must show that IBM directed its tortious activity at the CTA,

the party with whom BSE intended to do business.                    Schuler v. Abbot

Labs., 265 Ill. App. 3d 991, 994, 203 Ill. Dec. 105, 108, 639

N.E.2d 144, 147 (Ill. App. Ct. 1993) (citations omitted).

       Here,    like    its   other    claims,        BSE   has   failed   to    present

specific facts showing that there is a genuine issue of fact about

this claim.         BSE has not presented evidence that IBM directed its

allegedly wrongful activities at the CTA.                    Indeed, BSE has never

even clearly articulated what IBM’s wrongful activities were.

Presumably, BSE refers to IBM’s failure to provide BSE with the

$3.6 million on the CTA project, although BSE has not shown that

this   was     “wrongful”     since    it       has   not   shown   that   IBM    had   a

contractual obligation to do so.                  Further, BSE has presented no

evidence that IBM directed its activity at the CTA.                             BSE has

presented no evidence that the CTA was even involved in IBM’s

independent decisions whether to give certain work to BSE, even if

this work was on a CTA project.                 Since IBM has provided citations


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to the record and evidence that there is no genuine issue of

material fact, it is BSE’s burden to come forward with some

specific facts showing there is a genuine issue for trial.           It has

not done so.    I grant summary judgment for IBM on this claim.

                                     VI.

     Because I find IBM is entitled to summary judgment on all

claims,   I   need   not   address   its   arguments   about   punitive   and

consequential damages, lost revenue and profits.           For the reasons

stated above, I grant summary judgment for IBM on all of BSE’s

claims.   IBM still has a defamation counterclaim against BSE and

Paige, brought in this court on diversity jurisdiction under 28

U.S.C. § 1391(a). Since this counterclaim has not been the subject

of any motion to dismiss or motion for summary judgment, it remains

in dispute.

                                      ENTER ORDER:




                                      ____________________________
                                           Elaine E. Bucklo
                                      United States District Judge


Dated: October 11, 2007




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